 Appellate
        Appellate
           Case: 23-1135
                  Case: 23-1135
                            Document:
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                                      010110857298
                                            5 Date Filed:
                                                    Date05/09/2023
                                                          Filed: 05/09/2023
                                                                        Page: 1Page: 1



                             UNITED STATES COURT OF APPEALS
                                  FOR THE TENTH CIRCUIT

                   Entry of Appearance and Certificate of Interested Parties


    DARLENE GRIFFITH,

    Appellees/Respondents                                     Case No. 23-1135
    v.
    El PASO COUNTY, CO, BILL ELDER, in
    his individual and official capacity, CY
    GILLESPIE, ELIZABETH O’NEAL,
    ANDREW MUSTAPICK, DAWNE ELLISS,
    TIFFANY NOE AND BRANDE FORD

    Appellant/Petitioner



         In accordance with 10th Cir. R. 46.1, the undersigned attorney(s) hereby appear(s) as counsel for

El PASO COUNTY, CO, BILL ELDER, in his individual and official capacity, CY GILLESPIE,
ELIZABETH O’NEAL, ANDREW MUSTAPICK, DAWNE ELLISS, TIFFANY NOE AND
BRANDE FORD
[Party or Parties]

Appellants/Petitioners, in the subject case(s).
[Appellant/Petitioner or Appellee/Respondent]

Further, in accordance with 10th Cir. R. 46.1, the undersigned certify(ies) as follows: (Check one.)

☐        On the reverse of this form is a completed certificate of interested parties and/or attorneys not
         otherwise disclosed, who are now or have been interested in this litigation or any related
         proceeding. Specifically, counsel should not include in the certificate any attorney or party
         identified immediately above.
☒        There are no such parties, or any such parties have already been disclosed to the court.

Steven Martyn, # 47429_________________
Name of Counsel

s/Steven Martyn______________________
Signature of Counsel

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                                                                        Page: 3Page: 3

                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of this Entry of Appearance and Certificate of
Interested Parties was served on May 9, 2023 via email and electronic service through
PACER/ECF to the following counsel of record for Appellee.

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(See Fed. R. App. P. 25(b))           /s/ Dee Lambert
                                      Legal Office Administrator
                                      El Paso County Attorney’s Office




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